                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
IN THE MATTER OF:

MOOSE M. SCHEIB                                           Chapter 7
                                                          Case No. 21-42581-MAR
                                                          Hon. Mark A. Randon
                   Debtor.
                                              /

                             CERTIFICATE OF SERVICE

      MONIQUE KALLABAT, hereby certifies that on April 9, 2021, she served
Debtors Statement of Intentions and Proof of Service to the following:

      Bank of America, N.A.
      16001 N. Dallas Pkwy
      Addison, TX 75001

by First Class Mail with the United States Postal Service.


                                        OSIPOV BIGELMAN, P.C.

Dated: April 9, 2021                    /s/ Monique Kallabat
                                        MONIQUE KALLABAT
                                        Legal Assistant
                                        20700 Civic Center Drive Suite 420
                                        Southfield, Michigan 48076
                                        (248) 663-1800
                                        mk@osbig.com




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